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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


 ANDREW CORZO, SIA HENRY, ALEXANDER
 LEO-GUERRA, MICHAEL MAERLENDER,
 BRANDON PIYEVSKY, BENJAMIN SHUMATE,
 BRITTANY TATIANA WEAVER, and
 CAMERON WILLIAMS, individually and on
 behalf of all others similarly situated,

                               Plaintiffs,

                          v.
                                                       Case No.: 1:22-cv-00125
 BROWN UNIVERSITY, CALIFORNIA
 INSTITUTE OF TECHNOLOGY, UNIVERSITY                   Hon. Matthew F. Kennelly
 OF CHICAGO, THE TRUSTEES OF COLUMBIA
 UNIVERSITY IN THE CITY OF NEW YORK,
 CORNELL UNIVERSITY, TRUSTEES OF
 DARTMOUTH COLLEGE, DUKE UNIVERSITY,                   FILED UNDER SEAL
 EMORY UNIVERSITY, GEORGETOWN
 UNIVERSITY, THE JOHNS HOPKINS
 UNIVERSITY, MASSACHUSETTS INSTITUTE
 OF TECHNOLOGY, NORTHWESTERN
 UNIVERSITY, UNIVERSITY OF NOTRE DAME
 DU LAC, THE TRUSTEES OF THE
 UNIVERSITY OF PENNSYLVANIA, WILLIAM
 MARSH RICE UNIVERSITY, VANDERBILT
 UNIVERSITY, and YALE UNIVERSITY,

                               Defendants.



     PLAINTIFFS’ MOTION AND MEMORANDUM OF LAW IN SUPPORT OF
  PLAINTIFFS’ MOTION FOR LEAVE TO REOPEN THE 30(B)(6) DEPOSITION OF
           DEFENDANT MIT AND TO COMPEL MIT TO PROVIDE A
      DESIGNEE KNOWLEDGEABLE ABOUT CERTAIN LIMITED TOPICS

       Plaintiffs respectfully submit this Motion and Memorandum of Law in support for (i)

leave to reopen the 30(b)(6) deposition of Defendant Massachusetts Institute of Technology

(“MIT”) for a limited amount of time (2 hours); and (ii) to compel MIT to provide a designee

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knowledgeable about certain of the wealth-favoritism topics (Topics 7-13) contained in

Plaintiffs’ 30(b)(6) Notice to MIT. 1 The designee that MIT produced for deposition on Topics 7-

13 on May 2, 2024 was not adequately prepared to address the agreed upon topics, including key

aspects of MIT’s admissions practices, in particular the relationship between MIT’s Admissions

Office and Office of Resource Development, which is centrally relevant to the question of

whether MIT followed truly “need-blind” undergraduate admissions practices.

          MIT consistently resisted searching the files from Resource Development custodians

using search terms, 2 citing the burden and lack of relevance of such information. Even without

providing Plaintiffs with more than a smattering of Resource Development documents, as shown

below, there is evidence that MIT treated applicants affiliated with wealthy donors differently

than those who were less economically advantaged. The documents produced and testimony

provided prior to May 2 raised questions concerning (among other things) the interactions

between MIT Resource Development and Admissions Offices. Plaintiffs had expected to be

provided with the opportunity to question an MIT 30(b)(6) designee with sufficient knowledge

concerning the wealth-favoritism topics listed in Plaintiffs’ 30(b)(6) deposition notice on May 2.

          Because MIT’s designee for Topics 7-13, Mr. David duKor-Jackson, was neither

sufficiently personally knowledgeable about certain of the agreed-upon topics nor adequately

prepared on those topics (which are highly relevant to this case) prior to the deposition, Plaintiffs

respectfully request that the Court allow Plaintiffs to reopen the deposition and order MIT to

produce a knowledgeable witness concerning the issues identified below for two hours of

deposition time. Having successfully resisted producing documents from their Resource


1
    See Ex. 1, Feb. 2, 2024 Notice of 30(b)(6) deposition to MIT.
2
 Plaintiffs received only 11 Resource Development documents from MIT that they gathered on a “go
get” basis. See Ex. 2, Jan. 5, 2024 Prod. Letter from X. Tu.

                                                      2
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Development Office concerning admission of candidates connected to wealthy donors, MIT

should not be permitted to avoid answering questions about their development practices relating

to admissions by proffering a witness who lacks sufficient knowledge of those practices.

Providing an appropriate witness would be minimally burdensome to MIT; it does not require

burdensome custodial searches or production of additional documents. Plaintiffs merely seek a

few hours of testimony from a witness knowledgeable about the intersection between MIT’s

Resource Development and MIT Admissions Offices.

                                       BACKGROUND

       On February 2, 2024, Plaintiffs served a 30(b)(6) Notice on MIT. See Ex.1. MIT agreed

to provide a knowledgeable witness concerning Topics 7-13, a portion of Topic 23, and Topics

32-33 for deposition on May 2, 2024. See Ex. 3, Transcript of May 2, 2024 Deposition of David

duKor-Jackson (“Tr.”) at 10:20-11:10. Prior to May 2, Plaintiffs had taken nine prior individual

depositions of MIT-affiliated witnesses and had also taken slightly more than 4.5 hours of

30(b)(6) deposition testimony on other topics not relating to wealth favoritism in MIT

admissions.




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       MIT selected its current Director of Admissions, David duKor-Jackson as its designee on

the wealth-favoritism 30(b)(6) topics, including Topics 7-13. As shown below, Mr. duKor-

Jackson, while knowledgeable about certain issues, was clearly not sufficiently prepared to

discuss or knowledgeable concerning the relationship between MIT’s Admissions and Resource

Development Offices, as requested in Plaintiffs’ 30(b)(6) Notice.



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         On May 2, 2024, in a related meet-and-confer, Plaintiffs raised with MIT’s counsel that

they believed Mr. duKor-Jackson was inadequately prepared. Four days later, on May 6, 2024,

Plaintiffs’ counsel wrote MIT counsel and requested an additional two hours of deposition time

with an adequately prepared witness on Topics 7-13. Ex. 15, May 6, 2024 Letter from E.

Noteware to MIT counsel. In a letter dated, May 7, 2024, despite the fact that (as shown below)

Mr. duKor-Jackson admitted that he lacked knowledge of certain key topics, MIT declined to

provide an adequately prepared witness for follow-up questioning. Ex. 16, May 7, 2024 Letter

from J. Rybnicek to E. Noteware. MIT faulted Plaintiffs for failing to use a significant portion of

the less than two-and-a-half hour deposition to ask Mr. duKor-Jackson about his preparation,

which was clear from his testimony. On the substance, the Parties disagree about the adequacy of

the testimony. The Parties met and conferred telephonically in an effort to resolve their

disagreement on May 9 prior to the filing of the present motion but were unable to reach an

agreement. 3

         Prior to the deposition, MIT resisted providing Plaintiffs with documents from MIT’s

Resource Development Office because MIT has indicated that Resource Development played no

role in MIT Admissions process. As shown above, the documentary and testimonial evidence

suggest that is not the case. Mindful of the burden that discovery of MIT Resource

Development’s presumably massive files and data would have, Plaintiffs simply seek answers to

a few questions that remain unanswered. MIT would not incur much burden in providing an

adequately prepared witness for an additional two hours of deposition time.



                                         LEGAL STANDARD


3
 MIT offered written responses to questions posed by Plaintiffs’ counsel; Plaintiffs insist on a short
deposition so that they are able to ask necessary follow-up questions.

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       Pursuant to Federal Rule of Civil Procedure 30(a)(2)(A)(ii), a party seeking to depose a

witness who has already been deposed in the case must obtain leave from the court, which “must

grant leave to the extent consistent with Rule 26(b)(1) and (2).” Under Rule 30(d)(1), a court

must allow additional time for a deposition “if needed to fairly examine the deponent, or if the

deponent, another person, or any other circumstance impedes or delays the examination.” The

court has broad discretion and “should consider the totality of the circumstances, weighing the

value of the material sought against the burden of providing it, and taking into account society’s

interest in furthering the truth-seeking function of the particular case before the court.” Patterson

v. Avery Dennison Corp., 281 F.3d 676, 681 (7th Cir. 2002).

                                           ARGUMENT

       A.      MIT’s 30(b)(6) Designee Was Not Sufficiently Knowledgeable or
               Prepared to Discuss the Key Wealth-Favoritism Topics Contained in
               Plaintiffs’ 30(b)(6) Notice About Which MIT Agreed to Testify

       Plaintiffs’ 30(b)(6) Notice sought, and MIT agreed to provide a witness who was

knowledgeable about, inter alia, the following topic:

       Topic 13        During your membership in the 568 Group, any role that the
                       Development Office had during the admissions process including:
                              (1)   [ ] any policies governing the interactions between
                                    the Development Office and the Admissions Office;
                              (2)   the decision to create a liaison position between
                                    Admissions and the Development office and any
                                    policies regarding that liaison;
                              (3)   any incidents in which Development personnel were
                                    aware that donors or MIT personnel interceded in
                                    admissions decisions, and
                              (4)   the role of the Development Office in the
                                    designation of “senior cases” and “dean’s cases” on
                                    applications.




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                   1.    MIT’s designee could not answer questions concerning the MIT
                         Admissions-Development liaison position and the policies governing
                         that position, both of which were covered by Topic 13.

        MIT’s 30(b)(6) designee was unable to answer basic questions about the liaison position

between the MIT Admissions and Resource Development Offices that were the subject of Topic

13. For example, during the deposition, Plaintiffs’ counsel introduced MIT’s job posting for a

position entitled, “Senior Leadership Giving Officer, Admissions,” the individual who was

expected to “manage [the] relationship with the dean of admissions on behalf of Resource

Development and serve as a strategist in drafting talking points for the dean and student or

family who requests these meetings.” Ex. 17, duKor-Jackson Ex. 2, MITLIT-000659228, at -

229; see also Ex. 3, Tr. at 13:3-14. MIT’s job description for the liaison position further stated

that the liaison was required to “develop a tracking system for relevant admissions cases and

follow-up.” Id. at 13:18-14:14. At the deposition, MIT’s designee testified that

                                                                        Id. at 14:20-15:19

(testifying that                                                          ).

        Whether and how MIT, like other Defendants, tracked admissions cases related to

wealthy donors or prospective donors is not only covered by Topic 13, but is highly relevant to

the question of whether MIT engaged in wealth favoritism in its admissions process. It would not

be burdensome for MIT to provide a witness who was either personally aware of the applicant

tracking system or, alternately, became knowledgeable about the tracking system through

education about the system. Mr. duKor-Jackson testified that the current

                                        would know about                       . Id. at 15:4-19.

        MIT’s designee was also unfamiliar with

                   , which was also discussed in the Admissions-Development liaison job



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description, which stated that the liaison would “manage[] prospects primarily in the 2.0 to 4,0

range with some at the 1.0 level that have capacity to make major gifts to MIT.” See Ex. 3, Tr. at

15:23-16:1. Mr. duKor-Jackson testified:                                       Id. at 15:23-16:7; see

also id. at 16:9-15 (

                                                                   ). References to a

            were also present in other Development-Admissions documents that MIT produced,

including a training presentation entitled “RD [Resource Development] Admissions Training”

that noted that there were                                                   . See Ex. 18, duKor-

Jackson Ex. 5, MITLIT-000033445, at - 475. 4

          In addition to its relevance to Topic 13, information relating to MIT’s ranking or rating

system of applicants and/or their families is covered by Topic 12 of Plaintiffs’ 30(b)(6) Notice,

which sought information concerning “any ranking or rating system” MIT “used in Admissions

reflecting the undergraduate applicants’ relative socio-economic status” including “any policy or

practice designed to increase the amount of . . . middle-class students, upper-middle class

students, or students from any particular socio-economic status enrolling at MIT.”

          The job description for the MIT Admissions-Development liaison also indicates that the

liaison was supposed to “[e]stablish a partnership with the Admissions Office to design an

appropriate communications program for admitted students with the goal to increase the number

of potentially high-capacity families who contribute philanthropically to MIT.” See Ex. 17,

duKor-Jackson Ex. 2, MITLIT-000659228, at -229. The designee was not aware that



4
    See also Ex. 3, Tr. at 44:7-11; 46:19-47:4 (“



                     ”).

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one of the liaison’s job duties. Ex. 3, Tr. at 21:12-21 (“



                                                             ”); see also id. at 22:11-17 (“




      ”).

                   2.     MIT’s designee was unaware whether



            Exhibit 4 to the duKor-Jackson deposition is a Resource Development/Admissions

Guidebook, which instructed Resource Development managers:




                                                                                               Ex. 19,

duKor-Jackson Ex. 4, MITLIT-000659215, at -217. The Guidebook further stated:




                                                                            .

Id. at -217-218. MIT’s designee was not aware that

                             Ex. 3, Tr. at 31:4-32:19 (“                                  .”). 5

            Whether MIT’s Dean of Admissions met with families of donors during the admissions

process was information covered by topics listed in Plaintiffs’ 30(b)(6) deposition notice to MIT

about which MIT agreed to provide testimony, including:


5
 Additionally, MIT’s designee was unfamiliar with, and unable to explain the meaning or relevance to
admissions of the term           Id. at 44:7-11.

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       Topic 7         During your membership in the 568 Group, any policy or practice
                       You have had of considering in Admissions whether undergraduate
                       applicants’ families have made or pledged donations to You, or the
                       absence of any such a policy.

       Topic 8         During your membership in the 586 Group, any policy or practice
                       You have had in Admissions of considering any list of applicants
                       has created or caused to be created to be given special
                       consideration for admission due to past or prospective donations
                       by the undergraduate applicants’ families, or the absence of such a
                       policy. This includes Your policy, practice, or history of
                       designating certain applicants as “dean’s cases” and/or “senior
                       cases.”
       Topic 10        During your membership in the 568 Group, any policy or practice
                       You have had in Admissions of treating the donation histories of
                       Applicants’ families as factors or special consideration for
                       undergraduate applicants.


               3.      MIT’s designee was unfamiliar with the policies and procedures
                       applied by the                                              .




                                          Ex. 20, duKor-Jackson Ex. 3, MITLIT-000659212, at -

212-214. In that email, Ms. Roehl wrote:




Id. at -212, see also Ex. 3, Tr. at 24:20-27:7.

       MIT’s designee was unfamiliar with the procedures between

                                                       that, as indicated in Ms. Roehl’s email, were


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                                                                          Id. at 25:10-16 (“

                                         ”). The witness acknowledged that



                  Id. at 27:14-16. 6 Likewise, the designee was unaware whether, prior to June

2017,

                                   . Id. at 40:8-13.

                  4.      MIT’s designee was unaware of how admissions
                          that were highlighted to MIT’s President and other senior members of
                          MIT’s administration were chosen.
          MIT’s designee testified that MIT’s Dean of Admissions



                                  Ex. 3, Tr. at 58:1-5. The witness was aware that




                                                                                               ; he was

also aware that the individuals



         Ex. 3, Tr. at 63:6-20, see also id. at 60:16-62:18; Ex. 21, duKor-Jackson Ex. 8, MITLIT-

000456499 (                                    .” 7 MIT’s designee was not aware and was unable to

testify how




6
    He further stated that MIT Admissions is                                       Id.at 48:20 - 49:1.
7




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Ex. 3, Tr. at 62:20-63:10.

                 5.    MIT’s designee was unaware of any instance where an applicant’s
                       status changed from “not admitted to admitted” after admission
                       information had been presented to senior leadership --
                                                                                                   .

       Topic 11 of Plaintiffs’ 30(b)(6) Notice sought testimony from a knowledgeable MIT

designee concerning “any instances in which a donor or identified prospective donor to MIT

directed the admission of a specified applicant or applicants.” See Ex. 1. MIT’s designee

indicated that



     . Ex. 3, Tr. at 60:7-11.




                                 Ex. 22, Dep. Tr. of I. Waitz, at 110:19-21; 113:16-23; Ex. 23,

Dep. Tr. of Robert Millard, at 57:13-58:11.

       Additionally, Plaintiffs have identified two spreadsheets tracking applicants that appear

to be different iterations of each other—

           Ex. 24, Millard Ex. 9, MITLIT-000449403,

                                        Ex. 25, Millard Ex. 10, MITLIT-000449405.




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                                Ex. 3, Tr. at 65:20-66:24.

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                                                                         See Ex. 24 at cells 7773

and 3893.

                                   See Ex. 25 at cells 7763 and 3873.

       MIT’s designee was not aware of                                      but should have been

had he been adequately prepared. Ex. 3, Tr. at 68:12-21 (




                ).




                                                                Ex. 3, Tr. at 67:2-16.

       B.      Plaintiffs Respectfully Request an Additional Two Hours to Question an
               Adequately Prepared Witness on Wealth-Favoritism Topics 7-13

       Given the central significance of the issue of wealth favoritism in this case, Plaintiffs

respectfully request that the Court provide them with the chance to question a 30(b)(6) designee

who is adequately prepared about the wealth-favoritism topics, Topics 7-13 from their 30(b)(6)

deposition Notice.

       Requiring MIT to offer a designee following inadequate preparation on the relevant

wealth-favoritism topics is an appropriate remedy here. Courts in the Seventh Circuit have

offered similar relief. See, e.g., Avenatti v. Gree USA, Inc., 2022 WL 3134425, at *5 (S.D. Ind.

Aug. 5, 2022) (“Where a Rule 30(b)(6) designee is unable to respond to the relevant areas of

inquiry, the responding party has a duty to designate an additional knowledgeable deponent.”);

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see also Bierk v. Tango Mobile, LLC, 2021 WL 698479, at *6 (N.D. Ill. Feb. 23, 2021) (granting

plaintiff two additional hours of 30(b)(6) deposition time on the four topics on which the

designee was unprepared.”). MIT should not be allowed to evade its legal obligation to produce a

knowledgeable witness by asserting that answers such as “I don’t know” constitute definitive

evidence that practices of wealth favoritism do not exist at MIT. The purpose of a 30(b)(6)

deposition is to allow opposing counsel to question institutional witnesses who have knowledge

of a noticed topic, an obligation that MIT thus far has failed to meet.

        Plaintiffs’ request for an additional two hours of deposition time with a properly prepared

MIT witness is minimally burdensome to MIT but would likely provide important, centrally

relevant information to Plaintiffs that would be of interest to the Court and eventually a jury in

an eventual trial in this case.

                                         CONCLUSION
        For all the reasons stated herein, Plaintiffs’ Motion should be granted.

 Dated: May 14, 2024                                        Respectfully Submitted,


 By:/s/Robert D. Gilbert                                    /s/ Edward J. Normand
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